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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   CARO MARKS, Bar #159267
     Senior Litigator
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   BRANDON COLEMAN
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. CR-S-08-306 EJG
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER TO CONTINUE
13        v.                         )     STATUS CONFERENCE
                                     )
14   BRANDON COLEMAN,                )
                                     )     Date:    February 13, 2009
15                  Defendant.       )
                                     )     Time: 10:00 a.m.
16   _______________________________ )     Judge: Hon. Edward J. Garcia
17
18         It is hereby stipulated between the parties, Michael Beckwith,
19   Assistant United States Attorney, and Caro Marks, attorney for
20   defendant Brandon Coleman, as follows:
21        The Status Conference date of January 16, 2009 should be continued
22   until February 13, 2009.     The reason for the continuance is that Ms.
23   Marks is still recovering from her injuries and not expected to return
24   to the office until January 20, 2009. Ms. Marks will need additional
25   time to meet with the client once she returns to the office.
26        IT IS STIPULATED that the period from the signing of this Order up
27   to and including February 13, 2009 be excluded in computing the time
28   within which trial must commence under the Speedy Trial Act, pursuant
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 1   to   18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for ongoing
 2   preparation of counsel.
 3
 4   Dated: January 9, 2009                  Respectfully submitted,
 5                                             DANIEL BRODERICK
                                               Federal Defender
 6
                                               /s/ Caro Marks
 7                                              ________________________
                                               CARO MARKS
 8                                             Assistant Federal Defender
                                               Attorney for Defendant
 9                                             BRANDON COLEMAN
10
11   Dated:     January 9, 2009                LARRY BROWN
                                               Acting United States Attorney
12
13                                              /s/ Michael Beckwith
                                               _________________________
14                                             MICHAEL BECKWITH
                                               Assistant U.S. Attorney
15
16
17                                           ORDER
18             UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
19   ordered that the status conference presently set for January 16, 2009,
20   be continued to February 13, 2009, at 10:00 a.m.            Based on the
21   representation of defense counsel and good cause appearing therefrom,
22   the Court hereby finds that the failure to grant a continuance in this
23   case would deny defense counsel reasonable time necessary for effective
24   preparation, taking into account the exercise of due diligence.            The
25   Court finds that the ends of justice to be served by granting a
26   continuance outweigh the best interests of the public and the defendant
27   in a speedy trial.       It is ordered that time from this date to, and
28   including, the February 13, 2009 status conference shall be excluded


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 1   from computation of time within which the trial of this matter must be
 2   commenced under the Speedy Trial Act pursuant to 18 U.S.C. §
 3   3161(h)(8)(A) and (B)(iv) and Local Code T-4, to allow counsel time to
 4   prepare.
 5   Dated: January 9, 2009
 6                                            /s/ Edward J. Garcia
                                             EDWARD J. GARCIA
 7                                           Senior United States District Judge
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     Stip & Order/Coleman, Brandon          -3-
